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    February 2, 2024


    Honorable Rukhsanah L. Singh, U.S. M.J
    United States District Court
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       Johnson & Johnson Talcum Power Products, Marketing, Sales Practices and
                        Products liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

           The parties jointly request that the status conference set for 10:00 am on February 7, 2024,
    be moved to shortly before or shortly after the Motion to Show Cause which is set for 2 p.m.
    (Doc. 28860) if that is convenient for Your Honor.

            Pursuant to the Court’s order, we write to provide the names of counsel we understand will
    attend the case management conference on February 7.

              The following counsel will appear on behalf of the Johnson & Johnson Defendants:

              Susan Sharko (speaking)
              Allison Brown (speaking)
              Kristen Fournier
              Kat Frazier
              Sean Garrett
              Erik Haas
              Andrew White
              Kat Frazier
              Steve Brody

              The following counsel will appear on behalf o the Plaintiffs’ Steering Committee:

              Michelle A. Parfitt (speaking)
              P. Leigh O’Dell (speaking)
              Richard Golomb
              Christopher Tisi
              Daniel Lapinski
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            Larry Berman
            James Green
            Chris Placitella
            Andy Birchfield

    Depending on the issues that arise, one of the individuals mentioned above may have reason to
    speak for the Plaintiffs.

    Thank you for your consideration of this matter.

                                                Respectfully submitted,


                                                Susan M. Sharko
    SMS
      All counsel via ECF

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